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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )      2:12cr59-MHT
ANTOINETTE DJONRET                )        (WO)


                        OPINION AND ORDER

    This    cause    is    before     the    court     on   defendant

Antoinette Djonret’s motion to continue.             For the reasons

set forth below, the court finds that jury selection and

trial, now set for July 30, 2012, should be continued

pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.      The Act provides in part:

           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
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          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs."

Id. § 3161(c)(1).            The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”      Id.    §    3161(h)(7)(A).        In    granting     such    a

continuance, the court may consider, among other factors,

whether   the      failure    to   grant    the     continuance    would

"result      in      a     miscarriage         of     justice,"         id.

§   3161(h)(7)(B)(i),        or    "would   deny     counsel    for     the

defendant    or     the    attorney      for   the    Government        the

reasonable    time       necessary   for    effective    preparation,

taking into account the exercise of due diligence."                     Id.

§ 3161(h)(7)(B)(iv).

     The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the



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interests of the public and Djonret in a speedy trial.

Djonret claims that her counsel is actively involved in

complex and voluminous discovery in this case and in a

separate multi-defendant case charging Djonret, United

States v. King, Civ. No. 2:12cr57.               Djonret’s counsel

also states that she is simultaneously preparing for

other criminal trials set for this summer, including a

capital murder trial in state court.                Djonret further

represents that the government does not object to her

request for a continuance.



                                 ***


    Accordingly, for the above reasons, it is ORDERED
that:

    (1)   Defendant       Antoinette      Djonret’s      motion        for

continuance (Doc. No. 43) is granted.

    (2) The jury selection and trial for Djonret, now set

for July 30, 2012, are reset for September 17, 2012, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson Jr.



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United States Courthouse Complex, One Church Street,

Montgomery,    Alabama.         There     will    not    be    another

continuance.

    DONE, this the 5th day of July, 2012.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
